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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 BLUE SPIKE, LLC,                               §
                                                §
        Plaintiff,                              §        Civil Action No. 6:12-CV-499-MHS
                                                §
 v.
                                                §                  (LEAD CASE)
 TEXAS INSTRUMENTS, INC.                        §
         Defendants.                            §
                                                §            JURY TRIAL DEMANDED
 ___________________________________            §
                                                §
 BLUE SPIKE, LLC,
                                                §
        Plaintiff,                              §
                                                §        Civil Action No. 6:12-CV-576-MHS
 v.                                             §
 AUDIBLE MAGIC CORPORATION,                     §
                                                §     (CONSOLIDATED WITH 6:12-CV-499)
 ET AL.
                                                §
         Defendants.                            §            JURY TRIAL DEMANDED
                                                §
 _________________________________              §



            AUDIBLE MAGIC, CORP.’S FIRST SET OF INTERROGATORIES
                       TO PLAINTIFF BLUE SPIKE, LLC

 PROPOUNDING PARTY:                   AUDIBLE MAGIC, INC.
 RESPONDING PARTY:                    BLUE SPIKE, LLC
 SET NUMBER:                          ONE

        Defendant and Counterclaimant Audible Magic Corporation (“Audible Magic”) hereby

 demands pursuant to Federal Rules of Civil Procedure 26 and 33 that plaintiff Blue Spike, LLC

 (“Blue Spike”) answer separately and fully in writing under oath the following interrogatories

 within thirty (30) days. The following definitions and instructions apply:




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 I.      DEFINITIONS AND INSTRUCTIONS

         1.      “Blue Spike, LLC,” “Blue Spike,” “Plaintiff,” “You,” or “Your” means Blue

 Spike, LLC and its employees, representatives, related entities, affiliates, successors,

 predecessors, subsidiaries, parents, and other entities acting on its behalf.

         2.      “Blue Spike Patents-in-Suit” means U.S. Patent No. 7,346,472, U.S. Patent No.

 7,660,700, U.S. Patent No. 7,949,494, and U.S. Patent No. 8,214,175 as well as any other patents

 asserted in this lawsuit.

         3.      “Audible Magic” means Audible Magic Corporation.

         4.      “Accused Functionality” means the functionality that is accused in Blue Spike’s

 Infringement Contentions to Audible Magic provided on February 26, 2014.

         5.      “Audible Magic Patent-in-Suit” means U.S. Patent No. 6,834,308.

         6.      “Accused Blue Spike Product” means the Giovanni Abstraction Machine.

         7.      “Any” shall be understood to include and encompass “all,” and “each” shall be

 understood to include and encompass “every.”

         8.      The singular shall always include the plural and the present tense shall also

 include the past tense.

         9.      “And” and “or” shall be construed disjunctively or conjunctively as necessary to

 bring within the scope of this request any information that might otherwise be construed to be

 outside its scope.

         10.     Each interrogatory is to be answered separately and in full in writing under oath,

 unless all portions of an interrogatory are in good faith objected to, in which event the reasons

 for all of your objections shall be stated in detail. If an objection pertains to only a portion of an

 interrogatory, or to a word, phrase or clause contained within such interrogatory, you shall state




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 your objection to that portion, and shall answer the interrogatory to the extent it is not

 objectionable.

        11.       In the event that you object to any portion or subpart of these interrogatories, you

 shall state the objection to such portion or subpart, and shall answer any unobjectionable

 portion(s) or subpart(s) and/or provide the unobjectionable information requested.

        12.       The interrogatories are to be considered as continuing and you must provide, by

 way of supplementary answers, such additional information as you or any other person(s) acting

 on your behalf may hereafter obtain, which will supplement or otherwise modify any answers to

 the interrogatories.

        13.       Please take notice that these instructions are submitted for the purposes of

 discovery and are not to be taken as waiving any objections which may be made at trial to the

 introduction of evidence on subjects covered by these interrogatories or as an admission at the

 trial of the relevance or materiality of any of the matters covered by these interrogatories.

 II.    INTERROGATORIES

 INTERROGATORY NO. 1:
        Describe in detail the circumstances surrounding the conception and reduction to practice

 of the alleged invention(s) for each asserted claim of the Blue Spike Patents-in-Suit on a claim-

 by-claim basis, including the precise dates of conception and of actual or constructive reduction

 to practice, the date and circumstances of first experimental or test use, the steps constituting

 diligence from conception to actual or constructive reduction to practice, and identify the

 evidence that supports your contentions. Such description should include the priority date that

 you assert corresponds to each asserted claim.          Such description should also include an

 identification of each person, including third parties, who worked on the development of the

 alleged invention described and claimed in each asserted claim, including each person’s role.


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 INTERROGATORY NO. 2:
        Describe in detail the first public use, public disclosure, offer for sale, sale, and

 importation of each product or service developed, offered for sale, or sold by Blue Spike that

 embodies any of the alleged invention(s) claimed in the Blue Spike Patents-in-Suit. Such

 description should identify each practicing or embodying product or service by name and version

 number and provide a chart explaining with particularity where each claim element is found

 within each such product or service.

 INTERROGATORY NO. 3:
        For all products or services identified in response to Interrogatory No. 2, describe in

 detail the sales, revenues, profits/losses, and customers of such products or services during the

 periods of time when they practiced or embodied the claimed inventions of the Blue Spike

 Patents-in-Suit.

 INTERROGATORY NO. 4:
        Describe in detail each offer for sale, actual sale, or negotiation involving rights in any

 patent assigned to Blue Spike or in any patent in which Blue Spike has any right, interest, or title.

 Such offers for sale, actual sales, or negotiations of rights include, but are not limited to, any

 form of license, assignment, or covenant not to sue.

 INTERROGATORY NO. 5:
        Describe in detail the ownership history of the Blue Spike Patents-in-Suit, including

 without limitation: describe the terms and conditions of, and circumstances surrounding, Blue

 Spike’s acquisition of any of the Blue Spike Patents-in-Suit; describe any interests, legal or

 beneficial, owned by any third party with respect to any of the Blue Spike Patents-in-Suit or any

 recovery in this litigation; identify all persons involved in the transfer of ownership of any of the

 Blue Spike Patents-in-Suit; and identify all documents reflecting or relating to the ownership and

 assignment history of the Blue Spike Patents-in-Suit.


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 INTERROGATORY NO. 6:
        Identify the date on which Blue Spike contends that it gave actual or constructive notice

 of the Blue Spike Patents-in-Suit to Audible Magic and describe in detail such actual or

 constructive notice.

 INTERROGATORY NO. 7:
        Separately for each Accused Functionality, describe the circumstances surrounding Blue

 Spike’s knowledge or understanding of each such Accused Functionality, including at least: how

 Blue Spike first learned of each such Accused Functionality, the date(s) Blue Spike acquired

 such knowledge, and the identity of each person likely to possess knowledge or documents that

 relate to Blue Spike’s response this interrogatory.

 INTERROGATORY NO. 8:
        For each asserted claim of the Blue Spike Patents-in-Suit, identify the features and

 advantages over the prior art of each embodiment of the alleged invention on an element-by-

 element basis, including whether the alleged invention claimed is a combination of elements in

 the prior art, and, if so, what if anything you contend is novel about the combination.

 INTERROGATORY NO. 9:
        For the Audible Magic Patent-in-Suit, state the date when you first became aware of such

 patent and describe the circumstances, including the person(s) who gained such knowledge and

 all documents that refer or relate to those circumstances.

 INTERROGATORY NO. 10:
        Identify all offers for sale, sales, leases, and licenses to the Accused Blue Spike Product

 including, for each such transaction, the model and number of units offered for sale, sold, leased,

 or licensed, the date of the transaction, the name of the customer, the amount paid by the

 customer, and all other terms of the transaction.




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 INTERROGATORY NO. 11:
        Describe, in detail, all communications and interactions between Scott Moskowitz (CEO

 of Blue Spike and named inventor on the Blue Spike Patents-in-Suit) and Muscle Fish LLC

 (including its principals Erling Wold, Doug Keislar, Thom Blum and Jim Wheaton or any other

 employee or representative), Wired Air LLC or Audible Magic Corp. (including their principals

 Vance Ikezoye and Jim Schrempp or any other employee or representative).

 INTERROGATORY NO. 12:
        Describe, in detail, all facts, information and beliefs within the knowledge or possession

 of Scott Moskowitz (CEO of Blue Spike and named inventor on the Blue Spike Patents-in-Suit)

 regarding the products, services or activities of Muscle Fish LLC, Wired Air LLC and Audible

 Magic Corp. prior to September 7, 2000.



 Dated: April 2, 2014

 By:

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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served electronically on

 opposing counsel pursuant to Local Rule CV-5(a)(7)(C) on April 2, 2014.

                                                    /s/ Eric H. Findlay
                                                    Eric H. Findlay




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